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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )       CRIMINAL NO. 21-cr-246 (ABJ)
                                            )
                                            )
EDWARD BADALIAN                             )

                           Notice of Mr. Badalian’s Health Status
Edward Badalian, through his Attorney, Robert M. Helfend, respectfully files this Notice to the
Court of the current status of Mr. Badalian’s health.
Counsel has been in contact with Mr. Badalian who has been ill with a sore throat and cold-like
symptoms for the past 4 days. Today, Mr. Badalian informed Counsel that the “sore throat
became a dry cough.” On 2-16-23 Mr. Badalian can be present in Court but will be “sniffling and
sneezing and coughing.”
Counsel is asking the Court to advise whether Mr. Badalian can appear via zoom, or would the
Court choose to continue the Pretrial to the following week or whether the Court prefers Mr.
Badalian to be present under his current medical status.
Undersigned counsel conferred with AUSA Paschall who takes no position on this Notice.


Dated: February 13, 2023                            Respectfully submitted,
                                            By:          /s/
                                                    Robert M. Helfend
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                                            By:      _____/s/_________
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                                CERTIFICATE OF SERVICE

       I hereby certify on the 13th day of February, 2023, a copy of same was electronically

filed using the CM/ECF system and thus delivered to the parties of record and in pursuant to the

rules of the Clerk of Court.

                                            /s/ Robert Helfend




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